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       Exhibit C
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SETTING A NEW STANDARD IN
CLASS ACTION CLAIMS ADMINISTRATION

  PHILADELPHIA   • NEW YORK • ATLANTA • SAN DIEGO • SAN FRANCISCO
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    Class Action Experience
    High-Quality Service at Competitive Rates

    RG/2 Claims seasoned professionals utilize their vast class action
    experience, tax and financial management resources to deliver
    high-quality service at competitive rates.




    RG/2 Claims is a boutique class action claims administration firm with a nationwide presence founded
    by seasoned class action practitioners and highly credentialed tax professionals. Our leadership team
    has a collective 100 years’ experience working in the field of class action litigation and settlement
    administration to leverage for the benefit of counsel. Our team of driven class action attorneys,
    highly credentialed CPAs and forensic accountants approach each matter
    with a personal goal to shepherd the settlement through the process from settlement negotiations
    through final approval. Our personal attention and care ensures that the administration is handled in a
    seamless matter that allows counsel to proceed with the knowledge and confidence that their settlement
    will receive the attention and care that they demand. In addition, our operations and IT personnel bring
    individualized innovations to each engagement, driving the notice and settlement administration to
    conclusion. We have the experience to handle large settlements with the personal attention and care
    expected from a boutique firm.

    RG/2 Claims recognizes that cutting-edge technology is the key to efficient and reliable claim processing.
    Our IT Group, including an experienced web design team, enables RG/2 Claims to employ technologies
    used to enhance accuracy, efficiency and interaction of all participants in the claims process. Our
    approach focuses on analysis of case needs, development of solutions to maximize resources and reduce
    costs through accurate and efficient data collection and entry, and ongoing maintenance and support.
    Throughout the entire claims process, our goal is to (1) optimize completeness, accuracy and efficiency
    of the data management system, including online integration; (2) validate critical fields and data; and
    (3) track opt-outs and claimant responses. RG/2 Claims’ proprietary database application provides a
    single source for managing the entire claims administration process
    and expediting decision making and resource management. From the
    initial mailing through distribution of settlement funds and reconciliation of distributed payments, RG/2
    Claims’ CLEVerPay
            CLEVerPay® system centralizes data, facilitating information sharing and efficient communication.




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Cutting-Edge Technology and Skilled Resources

The CLEVerPay® System: A proprietary and revolutionary
application developed exclusively by RG/2 Claims.


At RG/2 Claims, we developed a proprietary and customizable database with the goal of providing
single-source management throughout the claims administration process, expediting decision
making and resource management.

From the initial mailing through distribution of settlement funds and reconciliation of payments,
RG/2 Claims’ CLEVerPay® system centralizes the entire process while providing information sharing
and communications solutions.

Our CLEVerPay® system is a robust and user-friendly resource that can be easily customized to meet
your administration and distribution needs. We recognize how essential it is for data to be clean,
centralized and readily accessible. RG/2 Claims’ CLEVerPay® system has the capacity to assimilate
and analyze large amounts of raw data from multiple inputs, to convert that raw data into useful
information and to distribute the useful information in a variety of formats.

The integration of these elements results in timely and accurate distribution of secure payments
generated from RG/2 Claims’ single-source CLEVerPay® system.

For more information, please visit our website to download our CLEVerPay® System Datasheet at:
http://www.rg2claims.com/pdf/cleverPayDatasheet.pdf.




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    Locations




    PHILADELPHIA
    30 South 17th Street • Philadelphia, PA 19103-4196
    P 215.979.1620 • F 215.979.1695

    NEW YORK
    1540 Broadway    •   New York, NY 10036-4086
    P 212.471.4777   •   F 212.692.1020

    ATLANTA
    1075 Peachtree Street NE, Suite 2000     •   Atlanta, GA 30309-3929
    P 404.253.6904 • F 404.253.6905

    SAN DIEGO
    750 B Street, Suite 2900   •   San Diego, CA 92101-4681

    SAN FRANCISCO
    Spear Tower • One Market Plaza, Suite 2200        •   San Francisco, CA 94105-1127
    P 415.957.3011 • F 415.957.3090



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Full Life-Cycle Support for Your Class Action
With You Every Step of the Way

Whether engaged as a court-appointed settlement administrator,
claims agent or disbursing agent, RG/2 Claims offers a complete
range of claims, settlement administration and investment
management services, including but not limited to:




PROFESSIONAL CASE MANAGEMENT CONSULTING
RG/2 Claims provides custom pre-settlement consultation and highly personalized attention
throughout the life cycle of settlement administration. Each retention begins with an in-depth
consultation concerning the specific needs of the case. Our professionals routinely and proactively
identify administrative concerns and identify and propose solutions that avoid delay and remove
unpredictability from the equation. We work through a coordinated approach involving a core of
specialists that are intimately familiar with the case entrusted to our care. Our retentions result in
effective and efficient solutions and greater peace of mind for busy lawyers.

NOTIFICATION PLANNING AND CAMPAIGNS
Whether routine or innovative, RG/2 Claims designs cost-effective and thorough notification plans
that will suit your budget whether the settlement is national in scope or highly localized. RG/2
Claims guides you through the array of notice publication options at your disposal in a variety of
media formats.

WEBSITE DESIGN
RG/2 Claims can assist in the design and hosting of a website specific to the client’s needs to
allow for document posting, as well as pertinent information and deadlines about the case. RG/2
Claims can also provide various options for claims filing, which includes an online portal that allows
claimants to submit their claims and supporting documentation through the website.

CLAIMS PROCESSING
RG/2 Claims utilizes a proprietary and customizable database that provides a single-source
management tool throughout the claims administration process, expediting decision making and
resource management. RG/2 Claims’ proprietary and sophisticated CLEVerPay® system centralizes
the entire process while providing information sharing and communications solutions, from the
initial mailing through distribution of settlement funds and reconciliation of payments.

DISTRIBUTION AND TAX SERVICES
RG/2 Claims’ in-house tax, accounting and financial services professionals provide disbursement
services, including management of checking, sweep, escrow and related cash accounts, as well
as non-cash assets, such as credits, gift cards, warrants and stock certificates. RG/2 Claims’ in-
house CPAs provide a broad array of accounting services, including securing private letter
rulings from the IRS regarding the tax reporting consequences of settlement payments, the
preparation of settlement fund tax returns and the preparation and issuance of IRS Forms 1099
and W-2.

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    Range of Services
    Offering Unparalleled Value

    RG/2 offers a range of quality value-added services
    for your class action administration.




    SECURITIES
    RG/2 Claims’ highly experienced team uses its various resources to locate beneficial holders of securities, including
    working with the Depository Trust Company and a proprietary list of nominee firms to identify and mail notices to the
    class. With RG/2 Claims’ CLEVerPay system, claims are processed efficiently and accurately using our proprietary damage
    grid that calculates class member damages in accordance with a broad array of complex plans of allocation. Claims are
    automatically flagged through a validation process so RG/2 Claims can communicate with class members concerning
    their claims and can assist them in filing claims that are complete and properly documented. Once ready for distribution,
    RG/2 Claims conducts an audit of the claims to insure against calculation errors and possible fraudulent claims. Once the
    audit is completed, RG/2 Claims calculates distribution amounts for eligible class members in accordance with the plan
    of allocation and issues checks and any applicable tax documents. RG/2 Claims is also often called upon to act as the
    Escrow Agent for the Settlement Fund, investing the funds and filing all required tax returns.
    ANTITRUST
    Because of the high-dollar settlements involved in most antitrust cases and potential large recoveries on behalf of class
    members, RG/2 Claims understands the importance of accuracy and attention to detail for these cases. RG/2 Claims
    works with counsel to arrive at the best possible plan to provide notice to the class. With RG/2 Claims’ CLEVerPay system,
    claims filed with a large volume of data, which is common in an antitrust case, can be quickly and easily uploaded into
    our database for proper auditing. Our highly-trained staff consults with counsel to apply an audit plan to process claims
    in an efficient manner while ensuring that all claims meet class guidelines. Once ready for distribution, RG/2 Claims
    calculates check amounts for eligible class members in accordance with the plan of allocation and will issue checks
    (including wire transfers for large distributions) as well as any necessary tax documents. RG/2 Claims is also available to
    act as the Escrow Agent for the Settlement Fund, investing the funds and filing all required tax returns.
    EMPLOYMENT
    With an experienced team of attorneys, CPAs, damage experts and settlement administrators, RG/2 Claims handles
    all aspects of complex employment settlements, including collective actions, FLSA, gender discrimination, wage-and-
    hour and, in particular, California state court class and PAGA settlements. RG/2 Claims utilizes technological solutions
    to securely receive and store class data, parse data for applicable employment information, personalize consents forms
    or claim forms, collect consents or claims electronically, calculate settlement amounts and make payments through
    our proprietary CLEVerPay system. Our proprietary database also allows for up-to-the-minute statistical reporting for
    returned mail, consents or claims received and exclusions submitted. Our CPAs concentrate on withholding and payroll
    issues and IRC section 468(B) compliance and reporting. Customizable case-specific websites allow for online notification
    and claims filing capabilities. With Spanish/English bilingual call center representatives on-staff, class members are
    provided immediate attention to their needs.
    CONSUMER
    RG/2 Claims handles a wide range of complex consumer matters with notice dissemination to millions of class members and
    with settlements involving cash, coupons, credits and gift cards. Our experienced claims administrators are available to provide
    guidance on media, notice and distribution plans that are compliant with the Class Action Fairness Act and the state federal
    rules governing notice, and that are most beneficial to the class. Our proprietary CLEVerPay system provides a secure and
    efficient way to track class member data, claims and payments. Integrated with our database, we can provide a user-friendly
    claims filing portal that will allow class members to complete a static claim form or log-in using user-specific credentials to view
    and submit a claim personalized just for that user. A similar online portal can be provided as a highly cost-effective method for
8   distribution where the class member can log in to obtain coupons, vouchers or credits as their settlement award.
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Effective administration requires proactive planning and precise execution. Before we undertake any matter, we work with you
to develop a specific plan for the administration of your case. The service plan is comprehensive, complete and tailored to your
specific needs.

RG/2 CLAIMS PROVIDES THE SERVICES SUMMARIZED BELOW:
•      Technical consultation during formulation of settlement agreement, including data collection criteria and tax consequences
•      Design and development of notice and administration plan, including claim form design and layout
•      Claim form and notice printing and mailing services
•      Dedicated claimant email address with monitoring and reply service
•      Calculation and allocation of class member payments
•      Claim form follow-up, including issuing notices to deficient and rejected claims
•      Mail forwarding
•      Claimant locator services
•      Live phone support for claimant inquiries and requests
•      Claim form processing
•      Claim form review and audit
•      Check printing and issuance
•     Design and hosting of website access portals
 •    Online claim receipt confirmation portal
  •    Ongoing technical consultation throughout the life cycle of the case
  •   Check and claim form replacement upon request

WE ALSO PROVIDE THE FOLLOWING OPTIONAL SERVICES:
•      Periodic status reporting
•      Customized rapid reporting on demand
•      Issue reminder postcards
•      Consultation on damage analyses, calculation and valuation
•      Interpretation of raw data to conform to plan of allocation
•      Issue claim receipt notification postcards
•      Online portal to provide claims forms, status and contact information
•      Dedicated toll-free claimant assistance line
•      Evaluation and determination of claimant disputes
•      Opt-out/Objection processing
•      Notice translation
•      Integrated notice campaigns, including broadcast, print and e-campaigns
•      Pre-paid claim return mail envelope service
•      Web-based claim filing
•      24/7 call center support
•      Damage measurement and development of an equitable plan of allocation

WE ALSO PROVIDE CALCULATION AND WITHHOLDING OF ALL REQUIRED FEDERAL
AND STATE TAX PAYMENTS, INCLUDING:
•      Individual class member payments
•      Qualified Settlement Fund (QSF) tax filings
•      Employment tax filings and remittance
•      Generation and issuance of W-2s and 1099s
•      Integrated reporting and remittance services, as well as client-friendly data reports for self-filing



       Don’t see the service you are looking for?
       Ask us. We will make it happen.


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                                                FOR MORE INFORMATION, PLEASE CONTACT:

                                                Phone: 1.866.742.4955 (toll free)
                                                Email: info@rg2claims.com

                                                WWW.RG2CLAIMS.COM




BOUTIQUE ADMINISTRATOR WITH
WORLD-CLASS CAPABILITIES

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 PHILADELPHIA     SAN YORK • ATLANTA
                      FRANCISCO  • NEW
                                     • SAN
                                        YORK  • •ATLANTA
                                           DIEGO          • DOVER
                                                  SAN FRANCISCO
